     Case: 1:19-cv-02818-DCN Doc #: 67 Filed: 09/21/20 1 of 3. PageID #: 1290




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

MAGNESIUM MACHINE, LLC, an Oklahoma             )
limited liability company; MAGNESIUM            )            Case No. 1:19-cv-2818
HOLDINGS, LLC, an Oklahoma limited liability    )            Judge Donald C. Nugent
company; and PARAMOUNT DESIGN, LLC, an          )
Oklahoma limited liability company,             )
                                                )
                           Plaintiffs,          )
                                                )
        vs.                                     )
                                                )
TERVES LLC, a Nevada limited liability company; )
and MCDONALD HOPKINS LLC, an Ohio               )
limited liability company,                      )
                                                )
                           Defendants.          )

                              AMENDED NOTICE OF APPEAL

       Pursuant to Fed. R. App. P. 4(a)(4)(B)(ii), amended notice is hereby given that Plaintiffs

Magnesium Machine, LLC, Magnesium Holdings, LLC, and Paramount Design, LLC hereby

appeal to the United States Court of Appeals for the Sixth Circuit from the U.S. District Court for

the Northern District of Ohio’s (1) Memorandum Opinion and Order [Dkt. No. 58] and Judgment

Order [Dkt. No. 59]1 entered in this action on the 14th day of July, 2020, dismissing this action

with prejudice; and (2) its September 9, 2020 Memorandum and Order granting Defendant Terves

LLC’s Motion for Attorney Fees [Dkt. No. 66].




1
  Plaintiffs previously filed a first Notice of Appeal [Dkt. No. 35] on April 3, 2020, giving notice
of their appeal of the Court’s December 19, 2019 [Dkt. No. 15] and March 20, 2020 [Dkt. No. 25]
Orders. Following this Court’s dismissal of this action, Plaintiffs filed a second Notice of Appeal,
expressly reserving their right to include the orders appealed from [Dkt. Nos. 15 and 25] in the
first notice of appeal [Dkt. No. 35] in the subsequent appeal in the event the U.S. Court of Appeals
for the Sixth Circuit dismissed the first appeal as moot, which it did on August 18, 2020.
                                                 1
    Case: 1:19-cv-02818-DCN Doc #: 67 Filed: 09/21/20 2 of 3. PageID #: 1291




Dated: September 21, 2020                  Respectfully submitted,

                                           /s/ Evan W. Talley
                                           Evan W. Talley, OK Bar # 22923
                                           (admitted pro hac vice)
                                           DUNLAP CODDING PC
                                           609 W. Sheridan Avenue
                                           Oklahoma City, OK 73102
                                           Telephone:     (405) 607-8600
                                           E-mail: etalley@dunlapcodding.com

                                           -and-

                                           Jordan A. Sigale
                                           (admitted pro hac vice)
                                           Illinois ARDC No. 6210047
                                           DUNLAP CODDING PC
                                           225 West Washington St., Ste. 2200
                                           Chicago, IL 60606
                                           Telephone: (312) 651-6744
                                           E-mail: jsigale@dunlapcodding.com

                                           -and-

                                           Steven J. Forbes (OH 0042410)
                                           NORCHI FORBES LLC
                                           Commerce Park IV
                                           23240 Chagrin Blvd., Ste. 210
                                           Cleveland, OH 44122
                                           Telephone:     (216) 514-9500
                                           E-mail: sforbes@norchilaw.com

                                           ATTORNEYS FOR PLAINTIFFS




                                       2
     Case: 1:19-cv-02818-DCN Doc #: 67 Filed: 09/21/20 3 of 3. PageID #: 1292




                                CERTIFICATE OF SERVICE


        I certify that on September 21, 2020, I electronically transmitted the foregoing document
to the Clerk of the Court using the ECF system for filing and transmittal of a Notice of Electronic
Filing to the following ECF registrants:

       Matthew Cavanagh
       David Cupar
       Tyler Mathews


                                                     /s/ Evan W. Talley
                                                     Evan W. Talley




                                                3
